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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

  GREGORY GIBBS and
  MELISSA RITCHIE,

            Plaintiff,                                                 Case No. 2:19-cv-14211

  v.

  FIRST PREMIER BANK,

        Defendant.
  _________________________________________/

                 JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

            Plaintiff    Gregory     Gibbs,   Plaintiff/Counter-Defendant   Melissa    Ritchie,    and

  Defendant/Counter-Plaintiff First Premier Bank, by and through undersigned counsel and pursuant

  to Rule 41 (a)(1)(A)(ii) of the Federal Rules of Civil Procedure, give notice, agree and stipulate

  that this action and all claims and counterclaims asserted by all parties herein are hereby dismissed

  without prejudice, with each party to bear its own attorneys’ fees and costs.

  Dated: October 7, 2019.


       /s/ Joshua A. Mize                                /s/ Charles W. Denny
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       Plaintiff/Counter-Defendant Melissa Ritchie Premier Bank
